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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO

PIERRE INVESTMENTS, INC., et al.,                  :
                                                   :
           Plaintiffs,                             : Case No. 1:22-cv-00155
                                                   :
               v.                                  : Judge Black
                                                   :
FRANK LAROSE, et al.,                              :
                                                   :
         Defendants.                               :


                            MOTION TO DISMISS OF DEFENDANT
                         OHIO SECRETARY OF STATE FRANK LAROSE


       Defendant Ohio Secretary of State Frank LaRose hereby moves to dismiss Plaintiffs’

First Amended Complaint pursuant to Federal Rules of Civil Procedure 8 and 12(b)(1).

Plaintiffs’ claims are barred by sovereign immunity and, even if they weren’t, Plaintiffs failed to

adequately state claims for relief. The reasons for this motion are set forth in the attached

memorandum in support.

                                             Respectfully submitted,
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                                MEMORANDUM IN SUPPORT

                                         BACKGROUND

       Plaintiffs paid $75,000 via a cashier’s check to a Fifth Third Bank account belonging to a

company that Plaintiffs believed would provide them a loan. Am. Compl. ¶ 31, Doc. No. 13 at

PageID 325. Plaintiffs allege that an individual withdrew the money from the company’s

account, and the company subsequently failed to extend Plaintiffs the loan. Id. ¶ 39, PageID

327. Plaintiffs later discovered that the company shut down in 2012. Id. ¶ 42, PageID 328.

Nevertheless, Plaintiffs state that the company opened a Fifth Third bank account at a branch in

Ohio in 2016. Id. ¶ 43, PageID 328.

       According to Plaintiffs, Fifth Third was required to verify that the company was still in

existence and in good standing at the time the account was opened in 2016. Id. ¶ 45, PageID

328. Plaintiffs believe that Fifth Third failed to research the company’s Delaware corporate

records and only checked the records on file with the Ohio Secretary of State. The Ohio records

indicated that the company was a Delaware corporation active in Ohio as a foreign corporation.

Id. ¶ 46, PageID 328. Plaintiffs allege that Fifth Third Bank and its employees failed to conduct

due diligence in opening an account for a shuttered company. Plaintiffs now bring this action

against multiple Fifth Third entities and employees, claiming that the bank’s failure to confirm

the closure of the company led Plaintiffs to suffer significant financial losses.

       Plaintiffs also wrongly name Ohio Secretary of State Frank LaRose (“Secretary LaRose”)

and Delaware Secretary of State Jeffrey Bullock as defendants in their official capacities.

Secretary LaRose is identified as Ohio’s “chief business entity officer.” Id. ¶ 10, PageID 321.

Plaintiff alleges that Secretary LaRose has an unspecified “statutory obligation” to “keep the

Ohio Secretary of State records updated to show which foreign corporations are no longer

active.” Id. ¶ 21, PageID 323. Notably absent from the complaint, however, are any specific

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claims against Secretary LaRose or any requests for specific relief. Id. ¶¶ 92-212 and Prayer,

Doc. No. 13 at PageID 334-365.

                                    LAW AND ARGUMENT

       A.      Plaintiffs’ claims are barred by the Eleventh Amendment.

       Rule 12(b)(1) of the Federal Rules of Civil Procedure “provides for the dismissal of an

action for lack of subject matter jurisdiction.” Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir.

2014). The plaintiff bears the burden of demonstrating that jurisdiction exists. Id. at 760.

Eleventh Amendment issues are jurisdictional in nature and are analyzed under Rule 12(b)(1).

Ladd v. Marchbanks, 971 F.3d 574, 577 n.2 (6th Cir. 2020).

       Under the Eleventh Amendment, “an unconsenting State is immune from suits brought in

federal courts by her own citizens as well as by citizens of another state.” Port Auth. Trans-

Hudson Corp. v. Feeney, 495 U.S. 299, 304 (1990) (quoting Pennhurst State School and

Hospital v. Halderman, 465 U.S. 89, 100 (1984)). A suit against a state official is “not a suit

against the official but rather is a suit against the official’s office.” Will v. Mich. Dep’t of State

Police, 491 U.S. 58, 71 (1989). Such a suit is no different than a suit against the state itself. See

id. Thus, the Eleventh Amendment applies in this case and bars Plaintiffs’ claims.

       The Eleventh Amendment bars suits like this one that, at their core, seek to recover

money from the State. Specifically, “a long line of Supreme Court decisions teaches that ‘when

the action is in essence one for the recovery of money from the state, the state is the real,

substantial party in interest and is entitled to invoke its sovereign immunity from suit even

though individual officials are nominal defendants.’” Kelley v. Metro. Cnty. Bd. of Educ., 836

F.2d 986, 988-89 (6th Cir. 1987) (quoting Ford Motor Co. v. Department of Treasury of Indiana,

323 U.S. 459, 464 (1945)). Thus, “a suit by private parties seeking to impose a liability which



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must be paid from public funds in the state treasury is barred by the Eleventh Amendment.”

Edelman v. Jordan, 415 U.S. 651, 663 (1974).

       Here, Plaintiffs seek lost profits, actual damages, punitive damages, restitution, and other

monetary relief against all Defendants, without excluding Secretary LaRose. See Am. Compl. at

Prayer, Doc. No. 13 at PageID 363 (“WHEREFORE, Plaintiffs respectfully pray that upon final

hearing of the cause, the Court enter judgment on Plaintiffs’ behalf against Defendants for the

economic and actual damages requested herein above with pre-judgment and post-judgment

interest at the maximum rate allowed by law, attorneys’ fees, costs of court, and such other and

further relief to which the Plaintiffs may be justly entitled at law or in equity.”). The Eleventh

Amendment bars any recovery of money from the state.

       Separately, the Eleventh Amendment bars the federal courts from exercising jurisdiction

over state-law claims against the state and state officials sued in their official capacities. See

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 120 (1984); Ernst v. Rising, 427 F.3d

351, 358 (6th Cir. 2005) (en banc). “The federal courts are simply not open to such state law

challenges to official state action, absent explicit state waiver of the federal court immunity

found in the Eleventh Amendment.” Experimental Holdings, Inc. v. Farris, 503 F.3d 514, 520-

21 (6th Cir. 2007) (citations omitted). Ohio has not waived sovereign immunity. McCormick v.

Miami Univ., 693 F.3d 654, 664 (6th Cir. 2012). Rather, state law supports that immunity. Id.

(citing Ohio Rev. Code 9.86 and 2743.02(F)).

       Yet, Plaintiffs’ 14 causes of action all arise out of state law: (1) common law negligence,

(2) respondeat superior, (3) negligence in failing to request signature, (4) negligence from failure

to ask the questions required under the USA Patriot Act, (5) negligence in failure to follow

Federal Reserve and OCC rules, (6) public policy, (7) agency and vicarious liability, (8)



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fraudulent misrepresentation, (9) fraudulent inducement, (10) negligent misrepresentation, (11)

breach of contract, (12) breach of contract-third party beneficiary, (13) negligence, and (14)

restitution. Am. Compl. ¶¶ 92-212, Doc. No. 13 at PageID 334-362. As a result, and all of them

are barred by the Eleventh Amendment and must be dismissed as to Secretary LaRose.

       Nor do Plaintiffs’ claim fit within the exception to sovereign immunity in Ex parte

Young, 209 U.S. 123 (1908). That exception applies when “the complaint alleges an ongoing

violation of federal law and seeks relief properly characterized as prospective.” Verizon Md. Inc.

v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645 (2002) (emphasis added) (quotation omitted).

Here, the Ex parte Young exception is not implicated because Plaintiffs’ complaint does not

allege ongoing violations of federal law by Defendant LaRose. Rather, these claims arise

exclusively under state law.

       Plaintiffs’ claims against Secretary LaRose are barred by the Eleventh Amendment, and

they must be dismissed.

       B.      Plaintiffs’ complaint does not satisfy the pleading requirements of Federal
               Rule of Civil Procedure 8(a).

       Even if Plaintiffs could somehow avoid the Eleventh Amendment, they have not stated

any claims for relief against Secretary LaRose under Rule 8 of the Federal Rules of Civil

Procedure. Rule 8(a) requires that a complaint set forth a “short and plain statement of the claim

showing that the pleader is entitled to relief,” as well as “a demand for the relief sought.” Fed.

R. Civ. P. 8(a)(2), (3). The rule exists to “give the defendant fair notice of what the claim is and

the grounds upon which it rests.” Bell Atl. Corp. v. Twombley, 550 U.S. 544, 555 (2007). “It is a

basic pleading requirement that a plaintiff must attribute specific factual allegations to particular

defendants.” Heinz v. HSBC Mortg. Servs. Inc., No. 5:21-cv-542, 2021 U.S. Dist. LEXIS

203680, at *6 (N.D. Ohio Oct. 22, 2021).


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       Plaintiffs bring 14 separate causes of action but never once connect Secretary LaRose to

any conduct supporting the 14 causes of action. In fact, 13 of those causes of action do not

mention Secretary LaRose at all. See Counts I-V and VII-XIV, Am. Compl. ¶¶ 92-145, 149-212,

Doc. No. 13 at PageID 334-42, 348-62. Some of these causes of action refer to “Defendants” as

one entity. See, e.g., Count VII: Agency and Vicarious Liability, Am. Compl. ¶¶ 149-152, Doc.

No. 13 at PageID 348. But none of these causes of action set forth the conduct attributed to

Secretary LaRose or contain specific factual allegations as to Secretary LaRose. Thus, Counts I-

V and VII-XIV do not suffice to state a claim against Secretary LaRose. See, e.g., Frazier v.

Michigan, 41 F. App’x 762, 764 (6th Cir. 2002) (dismissing claims where the complaint did not

allege with specificity which of the named defendants were involved); Butler v. Whitmer, No.

1:20-cv-13421, 2021 U.S. Dist. LEXIS 85932, at *8 (E.D. Mich. May 5, 2021) (“A complaint

fails to state a claim where there is no allegation of specific conduct against a particular

defendant.”). To the extent Plaintiffs intended to assert Counts I-V or VII-XIV against Secretary

LaRose, they should be dismissed because they fail to satisfy Rule 8’s pleading standards.

       Count VI fares no better. Plaintiffs’ public-policy claim appears to be based on a test

articulated by the Pennsylvania Supreme Court in Althaus v. Cohen, 562 Pa. 547 (2000), to

determine whether a defendant owes a duty of care. That test weighs five factors that correspond

to the subheadings of Count VI of the Amended Complaint. See Doc. No. 13 at PageID 347

(“the court should apply the test currently used in Pennsylvania which imposed previously-

unrecognized duties known as the Althaus factors”). It is not apparent that Count VI is a

cognizable legal claim under either Ohio or federal law.

       Even assuming Count VI is legally cognizable, it does not satisfy the requirements of

Rule 8. Plaintiffs do not specify any action of Secretary LaRose that violates public policy. Nor



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do Plaintiffs set forth any specific factual allegations as to the Althaus factors as they relate to

Secretary LaRose. Indeed, the claim appears to center on the banks’ failure to confirm that

businesses are companies in good standing before depositing money in their accounts. See Doc.

No. 13 at PageID 346-47. There are only three references to the Ohio Secretary of State and

none are an allegation of misconduct. Id. at ¶ 147 (third parties “are relying on the information

found in the Ohio Secretary of State website and are often careless”); PageID 343 (“According to

the Ohio Secretary of State website has the purpose of CLS Capital Group Inc is blank check”

(mistakes in original)); PageID 344 (“The bank can not rely on the information in the Ohio

Secretary of State website as this information is not updated unless the secretary of the

corporation notifies the Ohio Secretary of State that they are out of business.”) This does not

suffice to put Secretary LaRose on notice of the public-policy claim against him, the facts

supporting that claim, or the conduct that gave rise to that claim.

       Finally, Plaintiffs make a brief mention of actions, or lack thereof, taken by Secretary

LaRose in their factual allegations. Plaintiffs complain that the Ohio Secretary of State has not

been constantly verifying information regarding foreign corporations or updating the Secretary

of State’s website to reflect whether those corporations are in good standing. Am. Compl. ¶¶ 21

& 25, Doc. No. 13 at PageID 323-24. But Plaintiffs state no legal authority to support these

allegations, and they do not connect these allegations to any cause of action. Plaintiffs then seek

“a judgment that Ohio must remove all records of defunct corporations within 3 days of being

notified of by Delaware Secretary of State.” Id. ¶ 26, PageID 324. Again, Plaintiffs merely

make this request—unmoored from any cause of action—and cite no legal authority for this

Court to enforce it. These allegations also do not put Secretary LaRose on notice of any specific

claims against him.



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                                        CONCLUSION

       For the reasons set forth above, Secretary LaRose requests that the Court dismiss

Plaintiffs’ complaint.

                                            Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of April, 2022, the foregoing was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has entered an

appearance by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.


                                            /s/ Ann Yackshaw
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                                            Assistant Attorney General




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